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                              NOT FOR PUBLICATION                             FILED
                       UNITED STATES COURT OF APPEALS                         MAR 18 2022
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

  STEPHANIE CLIFFORD, AKA Stormy                    No.    20-55880
  Daniels,
                                                    D.C. No.
                   Plaintiff-Appellant,             2:18-cv-06893-JLS-FFM

   v.
                                                    MEMORANDUM*
  DONALD J. TRUMP,

                   Defendant-Appellee.

                      Appeal from the United States District Court
                          for the Central District of California
                      Josephine L. Staton, District Judge, Presiding

                               Submitted March 16, 2022**
                                  Pasadena, California

  Before: THOMAS, WARDLAW, and NGUYEN, Circuit Judges.

        Stephanie Clifford appeals two district court orders—an order granting

  attorneys’ fees to Appellee Donald Trump and a second order granting Trump’s

  motion to correct and/or strike the clerk’s rescission of a certification that the



        *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
        **
               The panel unanimously concludes this case is suitable for decision
  without oral argument. See Fed. R. App. P. 34(a)(2).
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  attorneys’ fees order was a final judgment. We lack jurisdiction over Clifford’s

  appeal of the underlying order granting attorneys’ fees. We have jurisdiction over

  the second order pursuant to 28 U.S.C. § 1291, and we affirm.

        1. The district court correctly held that the fees, costs, and sanctions order

  issued on December 11, 2018 was a final judgment that did not require a separate

  document pursuant to Federal Rule of Civil Procedure 58(a)(3). Because orders

  awarding ancillary costs in addition to attorneys’ fees do not trigger the separate

  document requirement, see S.L. ex rel. Loof v. Upland Unified Sch. Dist., 747 F.3d

  1155, 1161 (9th Cir. 2014), the district court’s order awarding $292,052.33 in

  attorneys’ fees and $1,000 in sanctions was a final, appealable order in accordance

  with Federal Rule of Appellate Procedure 4(a). Further, because the district

  court’s attorneys’ fees award was “a full adjudication of the issues” and “clearly

  evidence[d] the judge’s intention that it be the court’s final act in the matter,” the

  order was a final, registrable judgment for appellate purposes. Casey v.

  Albertson’s Inc., 362 F.3d 1254, 1258 (9th Cir. 2004) (quoting Nat'l Distrib.

  Agency v. Nationwide Mut. Ins. Co., 117 F.3d 432, 433 (9th Cir. 1997)).

        2. Because the district court’s 2018 order granting attorneys’ fees was a

  final judgment, we have no jurisdiction over Clifford’s appeal of that award. To

  invoke this court’s jurisdiction over an appeal, “[a] notice of appeal ‘must be filed

  with the district clerk within 30 days after the judgment or order appealed from is



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  entered.’” Menken v. Emm, 503 F.3d 1050, 1055 (9th Cir. 2007) (quoting Fed. R.

  App. P. 4(a)(1)(A)); Tillman v. Ass’n of Apartment Owners of Ewa Apartments,

  234 F.3d 1087, 1089 (9th Cir. 2000). Because Clifford did not file a notice of

  appeal as to the 2018 order until August 24, 2020, her appeal from the attorneys’

  fees award was untimely.

        We AFFIRM in part and DISMISS in part.




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